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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 R.B.,                                            §
         Plaintiff,                               §
                                                  §
  v.                                              §   CIVIL ACTION NO.4:19-cv-03004
                                                  §
  JENNIFER M. SMITH, et al.,                      §
       Defendants.                                §

                           ORDER GRANTING DEFENDANTS’
                      UNOPPOSED MOTION TO WITHDRAW COUNSEL


         On this day, the Court considered Defendants’ Unopposed Motion to Withdraw Counsel.

After reviewing the Motion, and for good cause having been demonstrated, the Court finds that

the motion should be GRANTED.

         IT IS THEREFORE ORDERED that H. Carl Myers is hereby granted leave to withdraw

as counsel of record for Defendants in this matter.

         IT IS FURTHER ORDERED that Michael R. Abrams is designated as Attorney in Charge

for Defendants in this matter.

         SIGNED this _____ day of ___________________, 2019.



                                             DAVID HITTNER
                                             UNITED STATES DISTRICT JUDGE
